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HOMELAND SECURITY INVESTIGATIONS i 1S

REPORT OF INVESTIGATION

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05/5/2018 12:17 EDT

CASE NUMBER
NT13LR18NT0001

CASE OPENED
3/26/2018

CURRENT CASE TITLE
Investigation of "2Happytimes2"

REPORT TITLE
Search of abandoned trash at 3585

Darling Hill Rd East Burke, VT

REPORTED BY
Jamie West

SPECIAL AGENT

APPROVED BY
Fred Divigard

RESIDENT AGENT IN CHARGE

DATE APPROVED
5/14/2018

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SYNOPSIS

In March 2018, HSI Derby Line, Vermont received information
that the user(s) of the screen name “ZHappytimes2” may by
distributing narcotics illegally via the use of the dark web.

This report of investigation serves to document the search of
the trash at 3585 Darling Hill Road in East Burke, VT.

Current Case Title

Investigation of “2Happytimes2"

ROI Number
NTI3LR18NT0001-006

Date Approved
9/14/2018

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DETAILS OF INVESTIGATION

In March 2018, HSI Derby Line, Vermont received information that the user(s} of the Scréen name
“2Happytimes2” may by distributing narcotics illegally via the usé of the dark web. HSI Derby
line has learried that P.O. Box 22 in East Burke, VI and the physical address of 3585 Darling
Hill Road in Bast Burke, VI is associated with this investigation.

On March 27, 2018, the reporting agent drove to the residence and noticed the trash at the
roadside in a black receptacle.

Also on March 27, 2018, the reporting agent and Inspector Burnham met with an employee at the
West Burké recycling center. ‘The reporting agent verified that the collection bay of the trash
collection vehicle was empty and photographed it. The reporting agent accompanied the employee
in the trash colléction vehiclé while Inspector Dunham followed in his unmarked law enforcement
vehicle. The reporting agent and Inspector Dunham witnessed the collection vehicle approach the
trash receptacle near the driveway of the residence at 3585 Darling Hill Road East Burke,

VI. The empleyee exited the vehicle and removed two trash bags from the receptacle and put them
in the collection bay of the vehicle, The vehicle then traveled approximately half a mile and
pulled over, where the reporting agent and Inspector Dunham tock possession of the two bags of
trash, The reporting agent and Inspector Dunham traveled to the Vermont State Police barracks
in St. Johnsbury, VI and examined the contents of the trash bags; Of interest in the
investigation, officers discovered the following:

1. Three used rubber gloves

2. Three shipping envelops that were shipped from Spain, two addressed to Elizabeth Jones 1702
Springdale Rd Dublin, GA 31021 USA and one addressed to Sam Bent P.O, Box 22 East Burke, VT
05832 USA

3. Two Amazon shipping envelopes addressed to Sam Bent 3585 Darling Hill Rd East Burke, vT
05832,

4. Bubble wrap with a sticker with a barcede and “Nextc USB-Yagi Plug. WiFi antenna 2200mH"
typed on it.

5. A US Postal Service Priority Mail shipping envelope addressed to The Lovely Dieneba Bent P.
O. Box 22 East Burke, VI 05832-6022 with a return address of Brittney Serrano 13320 Ceri
Loop Spring Hill, FL 34603.

6. One clear plastic bag with a white powder residue,
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REPORT OF INVESTIGATION

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It should be noted that on April 2, 2018, Forensic Chemist Wendy P. Alger reported to the
reporting agent that the unknown powder was examined and was found to contain ne regulated

substances.

DISPOSITION: Pending further investigation.

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